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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                           No. CR 17-00093 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   BURTE GUCCI RHODES,                                 ORDER RE: DEFENDANT
                                                                                           ATTENDANCE
                                  14                  Defendant.

                                  15

                                  16        Santa Rita jail and the United States Marshal Service shall have defendant Burte Gucci

                                  17   Rhodes ready in civilian clothes in court each morning during his trial at 7:30 AM.

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                                  19        IT IS SO ORDERED.

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                                  21   Dated: June 6, 2022.

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                                                                                             WILLIAM ALSUP
                                  24                                                         UNITED STATES DISTRICT JUDGE
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